
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by Claimants and Respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. On August 2, 2008, Claimants were traveling west on Interstate 64 near *131Huntington, Cabell County, when their vehicle struck concrete in the road that had fallen from an overpass causing damage to the vehicle.
2. Respondent is responsible for the maintenance of Interstate 64 which it failed to maintain properly on the date of this incident.
3. As a result, Claimants’ vehicle sustained damage in the amount of $7,845.08. Claimants’ insurance deductible was $500.00. Thus, Claimants’ recovery is limited to that amount.
4. Respondent agrees that the amount of $500.00 for the damages put forth by the Claimants is fair and reasonable.
The Court has reviewed the facts of the claim and finds that Respondent was negligent in its maintenance of Interstate 64 on the date of this incident; that the negligence of Respondent was the proximate cause of the damages sustained to Claimants’ vehicle; and that the amount of the damages agreed to by the parties is fair and reasonable. Thus, Claimants may make a recovery for their loss.
Accordingly, the Court is of the opinion to and does make an award in the amount of $500.00.
Award of $500.00.
